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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

AURELIO CARUSO on his own behalf and on behalf of :
all those similarly situated, AMENDED COLLECTIVE
: ACTION COMPLAINT
Plaintiffs,
: 09 Civ. 4405 (JGK)

- against -

CIPRIANI 42° STREET, LLC, CIPRIANI USA, INC.,
CIPRIANI FIFTH AVENUE, LLC, GC BALLROOM:
OPERATOR, LLC, 42"4 STREET LESSEE, LLC,

Defendants.
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Plaintiff by and through his counsel, FITAPELLI & SCHAFFER, LLP, individually and
on behalf of all those similarly situated, states the following as his Complaint against the
Defendants:

NATURE OF THE ACTION

1. Plaintiff brings this action against Defendants Cipriani 42"! Street, LLC, Cipriani
USA, Inc., Cipriani Fifth Avenue, LLC, GC 55 Ballroom Operator, LLC, and 42" Street Lessee,
LLC (collectively, “Cipriani”), to recover damages for Defendants’ egregious violations of
federal wage and overtime laws during Plaintiffs’ employment. Plaintiff Aurelio Caruso was
employed by Defendants as a chef from September 2004, until on or about April 10, 2009.

2. Plaintiff regularly worked in excess of 40 hours per week and was not paid

overtime for any and all hours over 40 in a given week.
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3. Plaintiff, by his attorneys, seek to recover unpaid wages, liquidated damages,
attorneys’ fees, costs and interest for Defendants’ violations of the Fair Labor Standards Act, 29
U.S.C. §201 et seq. (“FLSA”) and the New York Labor Law (“NYLL”).

4. Plaintiff brings this action on behalf of himself and similarly situated current and
former chefs who elect to opt-in to this action, pursuant to the Fair Labor Standards Act, 29
U.S.C. §§201 et seq. (“FLSA”), and specifically, the collective action provision of 29 U.S.C.
§216(b), to remedy defendants’ violations of the wage and hour provisions of the FLSA that
have deprived Plaintiff and similarly situated current and former chefs of their lawfully earned
wages.

JURISDICTION AND VENUE

5. This Court has jurisdiction over Plaintiffs’ federal claims pursuant to 28 U.S.C.
§1331 and 29 U.S.C. §216 (b) and jurisdiction over the State law claims pursuant to 28 U.S.C.
§1367.

6. Venue is proper in the Southern District of New York pursuant to 28 U.S.C.
§1391.

7. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.
§§2201 and 2202.

THE PARTIES
PLAINTIFF

8. Plaintiff, Aurelio Caruso is an adult residing at 59 Pond Street, Staten Island, New
York 10309. He consents in writing to be a party to this action pursuant to 29 U.S.C. §216(b).

9. During his employment with Cipriani, plaintiff Aurelio Caruso worked as a chef

at Cipriani 42" Street, Cipriani Wall Street and the Rainbow Room.
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10. _— At all relevant times, Plaintiffs were covered employees of Defendants within the
meaning of the Fair Labor Standards Act (FLSA), 29 U.S.C. §201 et seg. and the New York
Labor Law.

11. Pursuant to Cipriani’s policy, pattern and/or practice, Plaintiff regularly worked
more than 40 hours per week and was not paid proper premium overtime. Cipriani has failed to
keep accurate records with respect to Plaintiff's work and hours.

DEFENDANTS

12. Cipriani 42™ Street, LLC, Cipriani USA, Inc., Cipriani Fifth Avenue, LLC, GC
Ballroom Operator, LLC and 42" Street Lessee, LLC (collectively “Defendants”) jointly
employed Plaintiff and similarly situated employees at all times relevant. Each Defendant has
had substantial control over Plaintiff's working conditions, and over the unlawful policies and
practices alleged herein.

13. Collectively, the above referenced defendants shall be hereinafter be referred to as
“Cipriani.” Defendants Cipriani are Plaintiffs’ employers within the meaning of the FLSA and
NYLL.

14. The individual Defendants, Cipriani 42" Street, LLC, Cipriani USA, Inc.,
Cipriani Fifth Avenue, LLC, GC Ballroom Operator, LLC and 42" Street Lessee, LLC are part
of a single integrated enterprise that jointly employed Plaintiff and similarly situated employees
at all times relevant. The individual Defendants, have had a high degree of interrelated and
unified operations. The individual Defendants shared common management, centralized control
of labor operations, common ownership, common control, common business purposes, and

interrelated business goals.
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15 . Upon information and belief, all individual Defendants have had control over, and
the power to change compensation practices at Cipriani.

16. | Upon information and belief, all individual Defendants have had the power to
determine employee policies at Cipriani, including, but not limited to, time-keeping and payroll
policies, and policies governing overtime.

Cipriani 42° Street, LLC

17. Cipriani 42"° Street, LLC has owned and operated Cipriani 42" Street, located at
110 East 42nd Street, New York, 10017 during the relevant period.

18. | Upon information and belief, Defendant Cipriani 42"! Street, LLC is a domestic
business limited liability company organized under the laws of New York with a place of
business located at 110 East 424 Street, New York, New York 10017.

19. Cipriani 42™ Street, LLC’s principal executive office is located in New York,
New York.

20. Cipriani 42"! Street, LLC is a covered employer within the meaning of the FLSA
and the NYLL and, at all times relevant, employed Plaintiff and/or jointly employed Plaintiff and
similarly situated employees.

21. Atal times relevant, Cipriani 42 Street, LLC’s annual gross volume of sales
made or business done was not less than $500,000.

Cipriani USA Inc.

22. Cipriani USA Inc. has owned and operated Cipriani, located at 110 East 42nd
Street, New York, The Rainbow Room located at 30 Rockefeller Plaza, New York, New York

and Cipriani Wall Street, located at 55 Wall Street, New York, New York during the relevant

period.
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23. Upon information and belief, Defendant Cipriani USA, Inc., is a foreign business
corporation organized under the laws of Delaware with a place of business located at 110 East
42™ Street, New York, New York 10017.

24. Cipriani USA Inc.’s principal executive office is located in New York,

New York.
25. Cipriani USA Inc. is a covered employer within the meaning of the FLSA and the
NYLL and, at all times relevant, employed Plaintiff and/or jointly employed Plaintiff and
similarly situated employees.

26. At all times relevant, Cipriani USA Inc.’s annual gross volume of sales made or

business done was not less than $500,000.

Cipriani Fifth Avenue, LLC

27. Cipriani Fifth Avenue, LLC has owned and operated Cipriani, located at The
Rainbow Room located at 30 Rockefeller Plaza, New York, New York during the relevant
period.

28. Upon information and belief, Cipriani Fifth Avenue, LLC, is a domestic limited
liability company organized under the laws of New York with a place of business located at 110
East 42" Street, New York, New York 10017.

29. Cipriani Fifth Avenue, LLC’s principal executive office is located in New York,
New York.

30. Cipriani Fifth Avenue, LLC is a covered employer within the meaning of the
FLSA and the NYLL and, at all times relevant, employed Plaintiff and/or jointly employed

Plaintiff and similarly situated employees.
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31. Atall times relevant, Cipriani Fifth Avenue, LLC’s annual gross volume of sales

made or business done was not less than $500,000.

GC Ballroom Operator, LLC

32. GC Ballroom Operator, LLC has owned and operated Cipriani Wall Street,
located at 55 Wall Street, New York, New York during the relevant period.

33. Upon information and belief, GC Ballroom Operator, LLC, is a foreign limited
liability company organized under the laws of Delaware with a place of business located at 110
East 42" Street, New York, New York 10017.

34, GC Ballroom Operator, LLC’s principal executive office is located in New York,
New York.

35. GC Ballroom Operator, LLC is a covered employer within the meaning of the
FLSA and the NYLL and, at all times relevant, employed Plaintiff and/or jointly employed
Plaintiff and similarly situated employees.

36. At all times relevant, GC Ballroom Operator, LLC’s annual gross volume of sales
made or business done was not less than $500,000.

42" Street Lessee, LLC

37.  42™ Street Lessee, LLC has owned and operated Cipriani 42™ Street, located at
110 East 42" Street, New York, New York during the relevant period.

38. Upon information and belief, 42"4 Street Lessee, LLC, is a foreign limited liability
company organized under the laws of Delaware with a place of business located at 110 East 42"

Street, New York, New York 10017.
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39, 42™ Street Lessee, LLC’s principal executive office is located in New York,
New York.

40. 424 Street Lessee, LLC is a covered employer within the meaning of the FLSA
and the NYLL and, at all times relevant, employed Plaintiff and/or jointly employed Plaintiff and
similarly situated employees.

41. At all times relevant, 42" Street Lessee, LLC’s annual gross volume of sales

made or business done was not less than $500,000.

STATEMENT OF FACTS
42. Cipriani is a world renowned restaurant group which owns and manages
restaurants, event spaces and retail brands in New York, Venice, London, Miami, Porto Cervo,
Los Angeles and Hong Kong.
43.  Cipriani’s restaurants and banquet halls in New York include: Harry Cipriani,
Cipriani Downtown, Cipriani Dolci, Cipriani Wall Street, Rainbow Room and Cipriani 42"

Street.

44. Plaintiff and all other similarly situated persons are current and former salaried

chefs employed by Defendants.

45. All chefs employed by Defendants over the last three years have had essentially

the same job duties.

46. For all or part of the relevant time period, Defendants have failed to keep accurate

records reflecting the amount of time worked by chefs in a given week.
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COLLECTIVE ACTION ALLEGATIONS

47. Plaintiff realleges and incorporate by reference all preceding paragraphs.

48. Plaintiffs bring the FLSA claims as a collective action pursuant to 29 U.S.C. §
216(b). Plaintiffs, individually and on behalf of other similarly situated employees, seek relief
on a collective basis challenging Defendants’ practice of failing to accurately record all hours
worked and failing to pay chefs time and one half for all overtime hours worked.

49. The FLSA Collective is comprised of all chefs who have been employees of
Defendants at any time within three years from the date of this complaint. Plaintiffs and the
FLSA Collective have been blatantly misclassified as “exempt” and have been subject to the
unlawful practices outlined and described herein.

50. The number and identity of the FLSA Collective may be determined from
Defendants’ records and potential Plaintiffs may easily and quickly be notified of the pendency
of this action.

51. There are many similarly situated current and former Cipriani employees who
have been underpaid in violation of the FLSA who would benefit from the issuance of a court-
supervised notice of the present lawsuit and an opportunity to join the present lawsuit. Notice
should be sent to the FLSA Collective pursuant to 29 U.S.C. § 216(b).

52. Consistent with Cipriani’s policy and pattern or practice, Plaintiff and the
members of the FLSA Collective regularly worked in excess of 40 hours per week without being
paid overtime wages.

53. All of the work that Plaintiff and the FLSA Collective have performed has been
assigned by Cipriani and/or Cipriani has been aware of all of the work that Plaintiff and the

FLSA Collective have performed.
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54. As part of its regular business practice, Cipriani has intentionally, willfully and
repeatedly engaged in a pattern, practice and/or policy of violating the FLSA and the NYLL with
respect to Plaintiff and the Collective members. This policy and pattern or practice includes but
is not limited to:

(a) willfully failing to pay its employees, including Plaintiff and the FLSA
Collective, overtime wages for hours that they worked in excess of 40 hours per
work week;

(b) willfully classifying all of its chefs as exempt from the overtime
requirements of the FLSA and the NYLL; and

(c) willfully failing to record all of the time that its employees, including
Plaintiff and the Collective members, have worked for the benefit of Cipriani.

(d) Cipriani’s unlawful conduct, as described in this Complaint, is pursuant
to a corporate policy or practice of minimizing labor costs by misclassifying chefs
as exempt from the overtime requirements of the FLSA and NYLL and violating
the FLSA and the NYLL by failing to pay chefs overtime premiums for time they
worked in excess of 40 hours per workweek.

(e) Cipriani is aware or should have been aware that state and federal law
required them to pay employees performing non-exempt duties an overtime

premium for hours worked in excess of forty per work week.

(f) All Cipriani chefs perform the same primary duties.
(g) Cipriani’s unlawful conduct has been widespread, repeated, and
consistent.
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FIRST CAUSE OF ACTION
(Brought by Plaintiffs individually and on behalf of all others similarly situated)
55. Plaintiffs reallege and incorporate by reference all preceding paragraphs.
56. At all times relevant to this action, Plaintiffs were employees and Defendants

were employers within the meaning of 29 U.S.C. §203.

57. At all times relevant to this action, Plaintiffs and the FLSA Collective were
employed by Defendants within the meaning of 29 U.S.C. §203.

58. Defendants willfully failed to keep accurate records of hours worked and failed to
pay Plaintiffs and the FLSA Collective overtime compensation for each hour worked in excess of
forty hours in a workweek in violation of 29 U.S.C. §207.

59. Plaintiffs and all similarly situated employees are entitled to damages equal to the
mandated overtime premium pay within the three years preceding the filing of this complaint,
plus periods of equitable tolling because Defendants acted willfully and knew, or showed,
reckless disregard for whether its conduct was prohibited by §6(a) of the Portal-to-Portal Pay
Act, as amended, 29 U.S.C. §255(a).

60. As a result of Defendants’ willful FLSA violations, Plaintiffs and the FLSA
Collective are entitled to recover from Defendants amounts to be proven at trial for their unpaid
overtime wages, an additional amount as liquidated damages, reasonable attorneys’ fees, costs of

the action, and pre-judgment and post-judgment interest pursuant to 29 U.S.C. §216(b).

 

SECOND CAUSE OF ACTION
(Brought by Plaintiffs individually and on behalf of all others similarly situated)
61. Plaintiffs reallege and incorporate by reference all preceding paragraphs.
62. At all times relevant to this action, Plaintiffs were employees and Defendants

were employers within the meaning of the NYLL.

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63. Under the NYLL and supporting New York State Department of Labor
Regulations, Defendants were required to pay Plaintiffs and the FLSA Collective overtime for all
hours worked in excess of forty.

64. Defendants failed to pay Plaintiffs and the FLSA Collective the overtime wages
that they are entitled under the NYLL, thus violating NYLL articles 6 and 19 and their
implementing regulations, 12 N.Y.C.R.R. Part 142.

65. Defendants have willfully violated the NYLL by knowingly and intentionally
failing to pay Plaintiffs and the FLSA Collective the correct amount of overtime wages.

66. Due to Defendant’s willful violations of the NYLL, Plaintiff and the FLSA
Collective are entitled to recover their unpaid overtime wages, liquidated damages, reasonable
attorneys’ fees, and costs of this action and pre-judgment and post-judgment interest.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiffs, individually and on behalf of all other similarly situated persons,
respectfully request that this Court grant the following relief:

i. That, at the earliest possible time, Plaintiffs be allowed to give
notice of this collective action, or that the Court issue such notice,
to all persons who are presently, or have at any time during the
three years immediately prior to the filing of this suit, up through
and including the date of this Court’s issuance of Court-supervised
notice, been employed by Defendants as chefs. Such notice shall
inform them that this civil action has been filed, of the nature of
the action, and of their right to join this lawsuit if they believe they

were denied proper wages;

il. Declare Defendants’ conduct to be a violation of Plaintiffs’ rights
under the FLSA and the NYLL;

iii. Award Plaintiffs and the FLSA Collective unpaid overtime
compensation due under the FLSA and the NYLL and an
additional amount as liquidated damages because of Defendants’
willful failure to pay overtime compensation pursuant to 29 U.S.C.
§216(b) and the NYLL;

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iv.

Dated: July 23, 2009
New York, New York

Award Plaintiffs and the FLSA Collective prejudgment and post-

judgment interest;

Award Plaintiffs and the FLSA Collective the cost of this action
together with reasonable attorney fees pursuant to §29 U.S.C.
216(b) and the NYLL.

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Respectfully submitted,

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Collective Action Plaintiffs

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